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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

   In re:                                          )   Chapter 11
   FREE SPEECH SYSTEMS LLC,                        )   Case No. 22-60043
                                                   )
                          Debtor.                  )


                          ORDER DISMISSING CHAPTER 11 CASE
       1.       The above-styled bankruptcy case is dismissed of the date hereof with prejudice

with prejudice to refiling for 180 days. Except as otherwise set forth herein, all property of the

Subchapter V estate shall immediately revest in Free Speech Systems LLC (the “Debtor”).

       2.       Effective as of the date hereof, the employment of all professionals retained in these

chapter 11 cases shall be terminated. Except as otherwise set forth herein, the Debtor’s chief

restructuring officer (“CRO”) shall have no further responsibilities with respect to the Debtor’s

operations.

       3.       Within one business day from the date of this Order, the CRO shall transfer control

and signing authority with respect to the Debtor’s bank accounts to Robert Schleizer, on behalf of

BlackBriar Advisors LLC, and dual signing authority on checks over $25,000 to be shared with Jeff

Shulse. For the avoidance of doubt, the CRO shall remove himself from any account and delete any

access to such accounts in any manner, including online.

       4.       Notwithstanding anything in the Bankruptcy Code, the Bankruptcy Rules, the

Bankruptcy Local Rules, or any other authority to the contrary—including, without limitation,

section 349 of the Bankruptcy Code—all prior final orders, findings, rulings, orders, and judgments
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of this Court made during the course of this case, shall remain in full force and effect, shall be

unaffected by the dismissal of the Debtor’s chapter 11 case, and are specifically preserved for

purposes of finality of judgment and res judicata.

        5.       The Court shall retain exclusive jurisdiction and authority to hear and determine all

matters presented in the following matters:

             a. Adversary Proceeding No. 24-3038, Elevated Solutions Group, LLC v. Free Speech

                 Systems, LLC, et al.;

             b. Adversary Proceeding No. 23-3127, Free Speech Systems, LLC v. PQPR, Limited

                 Holdings LLC, et al.;

             c. Adversary Proceeding No. 22-3331, Neil Heslin, et al. v. Alex E. Jones, et al.,

                 previously removed from Travis County District Court;

             d. the approval of fees and expenses under sections 327 and/or 328 of the Bankruptcy

                 Code; and

             e. all matters, claims, or disputes arising from or related to the enforcement of this

                 Order.

        6.       Final applications for compensation pursuant to sections 327 and/or 328 of the

Bankruptcy Code shall be filed no later than 14 days after entry of this Order.

        7.       Free Speech Systems, LLC is ineligible to be a debtor under any chapter of the

Bankruptcy Code for a period of 180 days.

        8.       For the avoidance of doubt, upon dismissal, no further stay under the Bankruptcy

Code shall apply to Free Speech Systems, LLC. All parties’ rights with respect to the assets of the

Debtor under federal and state law are preserved. This provision shall have no impact upon any

future filing.



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       9.       This Order shall be effective and enforceable immediately upon entry and its

provisions shall be self-executing.




SIGNED ________________
                                            ___________________________________
                                            CHRISTOPHER LOPEZ
                                            UNITED STATES BANKRUPTCY JUDGE




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